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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE NATIONAL PRESCRIPTION                     MDL NO. 2804
OPIATE LITIGATION
                                                Case No. 17-md-2804
This document relates to:
County of Summit, Ohio, et al. v. Purdue        Hon. Dan Aaron Polster
Pharma L.P., et al.
Case No. 1:18-OP-45090

The County of Cuyahoga v. Purdue Pharma
L.P., et al.
Case No. 17-OP-45004



           SUMMARY SHEET FOR DEFENDANTS’ MOTION TO EXCLUDE
            DAVID EGILMAN’S OPINIONS AND PROPOSED TESTIMONY

Motion Name:          Defendants’ Motion to Exclude David Egilman’s Opinions and Proposed
                      Testimony

Moving Parties:       Defendants

Issue 1: Does Egilman use a reliable methodology to reach his opinions?

        Answer: No. Egilman came to his conclusions first, and then searched across a litigation
database using undisclosed search criteria to cherry-pick historical documents to support those
conclusions. Egilman himself concedes that this process cannot be replicated, and his testimony
therefore be excluded.

Issue 2: Is it proper for Egilman to offer subjective opinions and speculation?

        Answer: No. Egilman extrapolates from a handful of documents (and sometimes none at
all) to make broad, sweeping conclusions about the Defendants in the aggregate, which are
contradicted by the facts and evidence relevant to the individual Defendants. Egilman’s opinions
have previously been excluded because they are mere subjective belief and unsupported
speculation.




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Issue 3: Is it proper for Egilman to offer opinions about corporate intent?

       Answer: No. As this Court has previously held, the alleged knowledge, motivations, intent
or purposes of a corporate defendant are not the proper subjects of expert testimony.

Issue 4: Is Egilman qualified to offer opinions about the adequacy of Defendants’ warnings,
labeling, or suspicious order monitoring programs?

        Answer: No. Egilman’s experience as a medical doctor and professor of community
medicine does not provide him with the requisite specialized expertise in these areas to offer an
expert opinion.

Issue 5: Is it proper for Egilman to offer the opinion that Defendants violated ethical or legal
obligations?

        Answer: No. Whether Defendants complied with their ethical or legal obligations—as
defined by Egilman—is not a proper subject of expert testimony. It is not an expert’s job to instruct
the jury on the law or offer legal or moral conclusions. That role belongs to the Court.

Issue 6: Are Egilman’s opinion unfairly prejudicial?

        Answer: Yes. Egilman uses legal terms of art to imply criminal intent and wrongdoing
that will confuse and mislead the jury. His opinions are inflammatory, outrageous, and distracting.
The risk of unfair prejudice is too great.




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